38 F.3d 610
    309 U.S.App.D.C. 35
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Alberto KING, Jr., Appellant.
    No. 94-3018.
    United States Court of Appeals, District of Columbia Circuit.
    Oct. 7, 1994.
    
      Before:  WALD, HENDERSON and RANDOLPH, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for an opinion.  See D.C.Cir.Rule 36(b).  It is
    
    
      2
      ORDERED AND ADJUDGED that the conviction from which this appeal is taken be affirmed.  The district court's finding that exigent circumstances justified a warrantless search of appellant's hotel room is fully supported by the record and is, therefore, not clearly erroneous.   See Dorman v. U.S., 435 F.2d 385 (D.C.Cir.1970).  The warrantless search of King's hotel room was justified by " '[t]he need to protect or preserve life or avoid serious injury.' "   U.S. v. Timberlake, 896 F.2d 592, 596 (D.C.Cir.1990) (quoting Mincey v. Arizona, 473 U.S. 385, 392 (1978)).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 41.
    
    